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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION
  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,

                           Plaintiffs,
                                                      Case No. 1:14-cv-01611-LO-JFA
                   v.

  COX COMMUNICATIONS, INC., et al.,

                           Defendants.


                                DEFENDANTS’ MOTION TO SEAL

        Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and Local Civil Rule 5,

 Defendants (“Cox”) move the Court to enter an order allowing Cox to file one redacted brief

 (Dkt. 983) because it constitutes or discusses confidential business information belonging to

 Defendants and third-parties that Defendants had designated as “Highly Confidential” during

 discovery.

        1.       As explained below, the procedural prerequisites for sealing have been met.

        2.       Under the local rules, a party may file a motion to seal together with the sealed

 filings. E.D. VA. CIV. R. 5(D). Thereafter, the Court will determine whether the sealing is

 proper. Cox follows that practice in this motion.

        3.       Under current Fourth Circuit law, the district court must do the following prior to

 sealing any court records:

              (1) give public notice of the request to seal and allow interested parties
              a reasonable opportunity to object, (2) consider less drastic alternatives
              to sealing the documents, and (3) provide specific reasons and factual
              findings supporting its decision to seal the documents and for rejecting
              the alternatives.
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 Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000). Each procedural requirement has

 been met here by Cox’s sealing motion.

         4.      To satisfy the first requirement, the Court must provide notice of a request for

 sealing in the court record and provide interested persons with “an opportunity to object.” In re

 Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Individual notice is not required, and the

 Court may give adequate notice either by “notifying the persons present in the courtroom of the

 request to seal” at the time of the hearing, or by “docketing [the sealing request] in advance of

 deciding the issue.” Id. In accordance with Local Civil Rule 5 procedure, this sealing motion

 was publicly docketed in advance of the hearing, satisfying the first requirement.

         5.      To meet the second requirement, the Court must consider using redactions or

 limited sealing (either in scope or duration) in lieu of permanent, blanket sealing. To satisfy the

 second requirement, Cox used limited sealing measures—viz., sealing an exhibit, but not the

 entire filing and redacting certain text, but not sealing the entire brief.

         6.      To meet the third requirement, the Court must make specific findings, supported

 by the record, that justify sealing under the applicable standard. As required by the parties’

 protective order, Cox has redacted or sealed certain information and exhibits that it has claimed

 are highly confidential. Cox also meets the third requirement because the materials share

 confidential proprietary information.

         Based on the foregoing, the motion to seal should be granted. A proposed order is

 submitted herewith.




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 Dated: July 31, 2018                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

 I hereby certify that on July 31, 2018, the foregoing was filed and served electronically by the
 Court’s CM/ECF system upon all registered users:


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